Case 2:20-cv-08018-JWH-JPR Document 55 Filed 09/29/21 Page 1 of 2 Page ID #:1661




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    8                     UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   11   ADAM WATSON,                           Case No. 2:20-cv-08018-JWH-JPRx
   12               Plaintiff,
                                               JUDGMENT
   13         v.
   14   OLD DOMINION FREIGHT LINE,
          INC., a Virginia corporation; and
   15   DOES 1 through 10, inclusive,
   16               Defendants.
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Case 2:20-cv-08018-JWH-JPR Document 55 Filed 09/29/21 Page 2 of 2 Page ID #:1662




    1         Pursuant to the Order filed concurrently herewith,
    2         It is hereby ORDERED, ADJUDGED, and DECREED as follows:
    3         1.    This Court possesses personal jurisdiction over the parties and
    4   subject matter jurisdiction over the above-captioned action pursuant to 28
    5   U.S.C. § 1332(a)(1).
    6         2.    Fictitiously named Defendants Does 1–10 are DISMISSED.
    7         3.    Defendant Old Dominion Freight Line, Inc. shall have
    8   JUDGMENT in its favor, and against Plaintiff Adam Watson. Plaintiff shall
    9   take nothing by way of its complaint. This action is DISMISSED.
   10         4.    To the extent that any party requests any other form of relief, such
   11   request is DENIED.
   12         IT IS SO ORDERED.
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   14   Dated: September 28, 2021
                                              John W. Holcomb
   15                                         UNITED STATES DISTRICT JUDGE
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